                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               ST. JOSEPH DIVISION

T.S.H., et al.,                            )
                                           )
                      Plaintiffs,          )
                                           )
vs.                                        )      Case No. 19-06059-CV-SJ-ODS
                                           )
NORTHWEST MISSOURI STATE                   )
UNIVERSITY, et al.,                        )
                                           )
                      Defendants.          )



                  ORDER DIRECTING PLAINTIFFS TO SHOW CAUSE
       According to the Amended Complaint, at least one of the plaintiffs in this matter,
T.S.H., is an adult. Doc. #12, ¶ 12 (alleging that in June 2016, “Plaintiff T.S.H. was
seventeen years old, and Plaintiff H.R.J. was fifteen years old.”). Accordingly, the Court
orders Plaintiffs to show cause (1) why their identities should be confidential, and (2)
why Plaintiff H.R.J. should not be substituted for M.J., who was appointed as his Next
Friend. Plaintiffs shall respond to this Order by no later than October 3, 2019.

IT IS SO ORDERED.


                                                  /s/ Ortrie D. Smith
DATE: September 23, 2019                          ORTRIE D. SMITH, SENIOR JUDGE
                                                  UNITED STATES DISTRICT COURT




         Case 5:19-cv-06059-ODS Document 31 Filed 09/23/19 Page 1 of 1
